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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                               )
In re                                          )             Chapter 7, No. 25-30049-EDK
                                               )
SAMUEL DAVID CASTILLO                          )
                                               )
                                   Debtor      )
                                               )


                    MOTION TO AMEND SCHEDULE E/F AND MATRIX

        SAMUEL DAVID CASTILLO (the “Debtor”), the debtor in the above-captioned matter,

hereby moves this Court, pursuant to Fed. R. Bankr. P. 1009 and MLBR 1009-1, for the entry of

an Order authorizing and approving an amendment of his Schedule E/F and the creditor matrix.

In support of this Motion, the Debtor respectfully represents as follows:

        1.       On January 30, 2025 (the “Petition Date”), the Debtor filed a Voluntary Petition

under the provisions of Chapter 7 of the United States Bankruptcy Code (“Bankruptcy Code”)

with the United States Bankruptcy Court for the District of Massachusetts (“Bankruptcy Court”).

        2.       Pursuant to the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,

and the MLBR, the Debtor wishes to amend his Schedule E/F and creditor matrix to more

accurately list his liabilities.

        WHEREFORE, the Debtor respectfully requests the entry of an Order authorizing the

amendments filed herewith and providing such other and further relief as the Court may deem

just and proper.

                                               SAMUEL DAVID CASTILLO

Dated: February 13, 2025
                                            By: /s/ Andrea M. O’Connor
                                              ANDREA M. O’CONNOR, ESQ.
                                              MA No. 679540

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                                   For FITZGERALD LAW, P.C.
                                   46 Center Square
                                   East Longmeadow, MA 01028
                                   Tel. (413) 486-1110
                                   amo@fitzgeraldpc.com




                                     2
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Fill in this information to identify your case:

Debtor 1                   Samuel David Castillo
                           First Name                          Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                          Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF MASSACHUSETTS

Case number           3:25-bk-30049
(if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $              11,002.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $              11,002.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $                      0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $              24,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $              43,770.00


                                                                                                                                   Your total liabilities $                  67,770.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................              $                1,094.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $                1,070.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
               purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
               court with your other schedules.

Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1   Samuel David Castillo                                                        Case number (if known) 3:25-bk-30049

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $   1,094.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            24,000.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             24,000.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Samuel David Castillo
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF MASSACHUSETTS

 Case number           3:25-bk-30049
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim          Priority              Nonpriority
                                                                                                                                           amount                amount

 2.1          INTERNAL REVENUE SERVICE                               Last 4 digits of account number                       $24,000.00           $24,000.00                    $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Payroll Taxes
            Yes



 Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 10
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 4.1      Amazon Web Services                                         Last 4 digits of account number                                                          $3,000.00
          Nonpriority Creditor's Name
          410 Terry Avenue North                                      When was the debt incurred?
          Seattle, WA 98109
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Business Debt


 4.2      AMERICAN FIRST FINANCE                                      Last 4 digits of account number       TURE                                               $6,761.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                            When was the debt incurred?           12/5/2023
          PO BOX 565848
          Dallas, TX 75356-5848
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Credit card purchases


 4.3      AUSTIN ENERGY                                               Last 4 digits of account number       7037                                                $201.00
          Nonpriority Creditor's Name
          PO BOX 64378                                                When was the debt incurred?           2024-05
          SAINT PAUL, MN 55164-0378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify




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 4.4      BAYLOR SCOTT & WHITE CLINIC                                 Last 4 digits of account number                                                           $155.00
          Nonpriority Creditor's Name
          1800 S A.W. Grimes Blvd                                     When was the debt incurred?           2024
          Round Rock, TX 78664
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Medical bills


 4.5      CAPITAL ONE                                                 Last 4 digits of account number       8769                                                $770.00
          Nonpriority Creditor's Name
          PO BOX 31293                                                When was the debt incurred?           2023-08
          SALT LAKE CITY, UT 84131-0293
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify



 4.6      CHARTER COMMUNICATIONS                                      Last 4 digits of account number       9335                                                $180.00
          Nonpriority Creditor's Name
          131 TOWER PARK DR                                           When was the debt incurred?           2024-07
          STE 100
          WATERLOO, IA 50701-9374
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify




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 4.7      CHARTER COMMUNICATIONS                                      Last 4 digits of account number       0806                                                $155.00
          Nonpriority Creditor's Name
          260 AIRPORT PLAZA BLVD                                      When was the debt incurred?           2024-06
          FARMINGDALE, NY 11735-3946
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify



 4.8      CREDIT ONE BANK N A                                         Last 4 digits of account number       1872                                                $607.00
          Nonpriority Creditor's Name
          P.O. Box 98873                                              When was the debt incurred?           2024-07
          Las Vegas, NV 89193
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify



 4.9      DISCOVER FINANCIAL                                          Last 4 digits of account number       3943                                                $214.00
          Nonpriority Creditor's Name
          PO BOX 30939                                                When was the debt incurred?           2023-06
          SALT LAKE CITY, UT 84130-0939
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify


 4.1
 0        GM FINANCIAL                                                Last 4 digits of account number       3460                                           $20,999.00
          Nonpriority Creditor's Name
          PO BOX 181145                                               When was the debt incurred?           2022-12
          ARLINGTON, TX 76096-1145
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify



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 4.1
 1        JONATHAN J. CASTILLO                                        Last 4 digits of account number                                                          $1,200.00
          Nonpriority Creditor's Name
          3 Church Street, Apt. F                                     When was the debt incurred?
          Medway, MA 02053
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify


 4.1
 2        JOSHUA M. CASTILLO                                          Last 4 digits of account number                                                           $800.00
          Nonpriority Creditor's Name
          17 Treehouse Circle                                         When was the debt incurred?
          Easthampton, MA 01027
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify


 4.1
 3        OPORTUN INC                                                 Last 4 digits of account number       6894                                                $764.00
          Nonpriority Creditor's Name
          306 ENTERPRISE DR                                           When was the debt incurred?           2024-05-23
          OXFORD, MS 38655-2762
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify




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 4.1
 4        PATHWARD                                                    Last 4 digits of account number       0334                                                $764.00
          Nonpriority Creditor's Name
          5501 S. Broadband Lane                                      When was the debt incurred?
          Sioux Falls, SD 57108
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Unsecured Debt


 4.1
 5        PATRICK MCGUIRE                                             Last 4 digits of account number                                                          $1,200.00
          Nonpriority Creditor's Name
          20 Whitmar Circle                                           When was the debt incurred?
          Plymouth, MA 02360
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify


 4.1
 6        PETER J. CASTILLO                                           Last 4 digits of account number                                                          $1,500.00
          Nonpriority Creditor's Name
          48 Pine Brook Curve                                         When was the debt incurred?
          Northampton, MA 01060
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Loan




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 4.1
 7        Radius Global Solutions                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 390846                                               When was the debt incurred?
          Minneapolis, MN 55439
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Discover


 4.1
 8        SENTURY CREDIT                                              Last 4 digits of account number                                                          $2,000.00
          Nonpriority Creditor's Name
          2809 Grand Avenue                                           When was the debt incurred?
          Everett, WA 98201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Unsecured Debt


 4.1
 9        SUNCHASE APARTMENTS                                         Last 4 digits of account number                                                          $2,000.00
          Nonpriority Creditor's Name
          1200 Sunrise Road, Round                                    When was the debt incurred?
          Round Rock, TX 78664
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
              No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 7 of 10
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 Debtor 1 Samuel David Castillo                                                                           Case number (if known)         3:25-bk-30049

 4.2
 0         VALLEY HOSPITAL                                            Last 4 digits of account number                                                                   $500.00
           Nonpriority Creditor's Name
           620 Shadow Lane                                            When was the debt incurred?
           Las Vegas, NV 89106
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims
               No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Medical bills

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CAPITAL ONE                                                   Line 4.5 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 PO BOX 30285
 SALT LAKE CITY, UT 84130-0285
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBE GROUP                                                     Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 131 TOWER PARK DR
 STE 100
 WATERLOO, IA 50701-9374
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBE GROUP                                                     Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 PO BOX 900
 WATERLOO, IA 50704-0900
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DISCOVER FINANCIAL                                            Line 4.9 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 PO BOX 3025
 NEW ALBANY, OH 43054-3025
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GM FINANCIAL                                                  Line 4.10 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 801 CHERRY ST
 STE 3600
 FORT WORTH, TX 76102-6855
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C SYSTEM                                                    Line 4.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOX 64378
 SAINT PAUL, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC SYSTEMS, INC                                               Line 4.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 444 HIGHWAY 96 E
 SAINT PAUL, MN 55127-2557

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 10
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 Debtor 1 Samuel David Castillo                                                                         Case number (if known)          3:25-bk-30049
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 INTERNAL REVENUE SERVICE                                      Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Bankruptcy Unit
 PO Box 9112
 Boston, MA 02203
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV FUNDING                                                  Line 4.8 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 GREENVILLE, SC 29602
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV FUNDING/RESURGENT                                        Line 4.8 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 CAPITAL
 ATTN: BANKRUPTCY
 PO BOX 10497
 GREENVILLE, SC 29603-0497
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SECURITY CREDIT SERVICES                                      Line 4.13 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 PO BOX 1156
 OXFORD, MS 38655-1156
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SECURITYCRED                                                  Line 4.13 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 306 ENTERPRISE DR
 OXFORD, MS 38655-2762
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SUNRISE CREDIT SERVICES, INC.                                 Line 4.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: BANKRUPTCY
 PO BOX 9004
 MELVILLE, NY 11747-9004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SUNRISECRED                                                   Line 4.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 260 AIRPORT PLAZA BLVD
 FARMINGDALE, NY 11735-3946
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                   24,000.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                   24,000.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                           0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.       $                   43,770.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 9 of 10
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                              here.


                        6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $             43,770.00




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 Fill in this information to identify your case:

 Debtor 1                    Samuel David Castillo
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS

 Case number              3:25-bk-30049
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Samuel David Castillo                                                 X
              Samuel David Castillo                                                     Signature of Debtor 2
              Signature of Debtor 1

              Date        February 13, 2025                                             Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                             United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Samuel David Castillo                                                                 Case No.   3:25-bk-30049
                                                                                 Debtor(s)        Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      February 13, 2025                                         /s/ Samuel David Castillo
                                                                      Samuel David Castillo
                                                                      Signature of Debtor




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                         Amazon Web Services
                         410 Terry Avenue North
                         Seattle, WA 98109


                         BAYLOR SCOTT & WHITE CLINIC
                         1800 S A.W. Grimes Blvd
                         Round Rock, TX 78664


                         Radius Global Solutions
                         PO Box 390846
                         Minneapolis, MN 55439
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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                              )
In re                                         )              Chapter 7, No. 25-30049-EDK
                                              )
SAMUEL DAVID CASTILLO                         )
                                              )
                               Debtor         )
                                              )

                                 CERTIFICATE OF SERVICE

       I, ANDREA M. O’CONNOR, do hereby certify that I caused a copy of the attached
Motion to Amend Schedule E/F and Matrix, the Amended Schedule E/F, Amended Matrix and
Verification, and this certificate of service to be served on the parties listed below on February
13, 2025:

VIA ECF:
Richard T. King, Esq.                                 Jonathan R. Goldsmith, Esq.
Office of the U. S. Trustee                           Goldsmith, Katz & Argenio, P.C.
446 Main Street, 14th Floor                           1350 Main Street, Suite 1505
Worcester, MA 01608-2361                              Springfield, MA 01103

VIA FIRST CLASS MAIL:
Samuel D. Castillo                                    Amazon Web Services
58 Cherry Street, Apt. 2                              410 Terry Avenue North
Northampton, MA 01060                                 Seattle, WA 98109

Radius Global Solutions LLC (Discover                 Baylor Scott & White Clinic
Bank)                                                 1800 S A.W. Grimes Blvd.
P.O. Box 390846                                       Round Rock, TX 78664
Minneapolis, MN 55439

Dated: February 13, 2025
                                           By: /s/ Andrea M. O’Connor
                                             ANDREA M. O’CONNOR, ESQ.
                                             MA No. 679540
                                             For FITZGERALD LAW, P.C.
                                             46 Center Square
                                              East Longmeadow, MA 01028
                                             Tel. (413) 486-1110
                                             amo@fitzgeraldpc.com
